        Case: 3:20-cv-00308-SA-RP Doc #: 75 Filed: 12/08/21 1 of 2 PageID #: 406




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI

RODNEY JONES and wife,
DEANGELA BATTLE                                                                        PLAINTIFFS

V.                                                CIVIL ACTION NO. 3: 20-CV-308-MPM-RP

THE RAYMOND CORPORATION                                           DEFENDANT
__________________________________________________________________________

                                NOTICE OF SERVICE
     __________________________________________________________________________

         Please take notice that Edward P. Connell, Jr., one of the attorneys for the Plaintiff, has

served on the foregoing counsel the following document:

         1.      Plaintiff’s Supplement to Designation of Expert Witnesses.

         Plaintiff’s counsel maintains the originals of said documents as custodian thereof.

         DATED this, the 8th day of December, 2021.

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                                CERTIFICATE OF SERVICE

       I, Edward P. Connell, Jr., do hereby certify that I have on this date emailed via United a

true and correct copy of the above and foregoing document to:


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       This, the 8th day of December, 2021.

                                              /s/ Edward P. Connell, Jr.
                                              EDWARD P. CONNELL, JR. (MSB #10647)




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